                             Case 4:16-cr-00265-DPM                         Document 272           Filed 09/20/18         Page 1 of 8
AO 2451:! (Rev. ()t,11] 7)   Judgment in a Criminal Case
                             Sheet I



                                                UNITED STATES DISTRICT COURJMES
                                                                      Eastern District of Arkansas                    By: __~1-4+---,.-:-;:;0 ciEp3""criL'"i=E'RRKK

                  UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                         v.
                      Victor Jesus Garcia-Castrejon                                          Case Number: 4:16-cr-265-DPM-2
                       a/k/a Jose Perez-Suastegui
                                                                                             USM Number: 20223-051
                                                                                              Garry Carrothers
                                                                                             Defendant"s Attorney
THE DEFENDANT:
riZJ pll:aded guilty to count(sl              1 of the Superseding Indictment

0 pleaded nolo contendere to count(s)
    \\hich was accepted by the court.
0 was found guilty Llll count( s)
    after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:

Titk & Section                          ;\ a tun.• of Offen st•                                                                                       Count

  21 U.S.C.§§ 841(a)(1)                   Conspiracyit~ ·F'             withlntentto ·Distribute
         and (b)(1 )(A) & 846                         Methamphetamine, a Class A Felony                                12/19/2016                         1



       The defendant is sentenced as provided in pages 2 through                    __8___ ofthis judgment. The sent<:ncc is imposed pursuant l\l
the Sentencing Reform Act of 1984.

0 The defendant has been found not guilty on count(s)
riZJ Count(s)          9--10                                      0    JS     lilf are dismissed on the motion of the United States.
                     --------------
      .. It is ordered that tl~e defendant must notify the Unjted States attor!1ey tor this di~trict within 30 days of any change of rn1rnc, residence.
or nrntlrng address until all imes, rest1tut1011, costs. and special assessments imposed hy this Jml!!:ment arc fuflv paid. It ordered tu p:1\ reslltut1011.
the defendant mu~t notify· the comt and Lnited States attorney of rnate1ia] changc's in econon11c circumstmi'ccs.                                     ·

                                                                                     9/20/2018
                                                                                    Date oflmposilion of Judgment




                                                                                     D.P. Marshall Jr.                         United States District Judge
                                                                                                                             ·---·-············-···
                                                                                    Name ancJ Title of Judge




                                                                                    Date
                       Case 4:16-cr-00265-DPM                  Document 272             Filed 09/20/18          Page 2 of 8

AO ~45ll (Rev. 09il7) Judgment in Criminal Case
                      Shed 2 --- Imprisonment

                                                                                                         Judgment    Page      2   of'   8
Dl,FENDANT: Victor Jesus Garcia-Castrejon a/k/a Jose Perez-Su,
CASI· NUMBER: 4:16-cr-265-DPM-2

                                                               IMPRISONMENT

            The defendant is hereby committed to the rnstody of the Federal Bureau     or Prisons to be illlprisoncd for a total
 term of:

  120 months.




     liZ'! The court makes the following recommendations to the Bureau of Prisl>ns:

  1) that Garcia-Castrejon participate in a residential substance abuse program, or non-residential programs if he does not
  qualify for RDAP;
  2) that Garcia-Castrejon participate in educational and vocational programs during incarceration; and (continued)

     liZ!   The ddi:ndant is remanded to the custody of the United States iv1arshal.


     D      The defendant shall surrender to the United States Marshal for this district:

            D   at                                 D    a.m.     • p.lll.      on    -----------··-·····-········---·--·


            D   as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D   before 2 p.m. on

            D   as notified by the llnitcd States Marshal.

            D   as notified by the l'rnhation or Pretrial Services Office.



                                                                     RETURN

 I have executed this judgment as follows:




            Dckndant delivered on                                                           to


 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                      with a ccrti ficd copy of this judgment.



                                                                                                      UNITH) SI A I ES VL\RSlt\L



                                                                             By _ _ _ _ _ _ __
                                                                                                   DEPUTY UNITED STATES Mi\.RSilJ\L
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AO 245B (Rev. 1)9/ Ii) Judgment in a Criminal Case
                       Sheet 2A    Imprisonment
                                                                                            .Judgment   Pag~   -~3~ of   8
DEFENDANT: Victor Jesus Garcia-Castrejon a/k/a Jose Perez-Su
CASI: NUMBER: 4:16-cr-265-DPM-2

                                              ADDITIONAL IMPRISONl\lENT TERMS
  Recommendations to the Bureau of Prisons (continued from previous page):

 3) designation to FCI Texarkana to facilitate participation in the recommended programs.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3   Supervised Release
                                                                                                          Judgment · Page __4__ of
DEFENDANT: Victor Jesus Garcia-Castrejon a/k/a Jose Perez-Su
CASE NUMBER: 4:16-cr-265-DPM-2
                                                      SUPERVISED RELEASE
Upon release from imprisonment. you wi 11 he on supervised release for a term of:
 5 years.




                                                    MANDATORY CONDITIONS

I.   You must not commit another federal. state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as detem1ined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you
                pose a low 1isk of future substance abuse. (check !t'applicable1
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. rch.:.::k 1fapplic<1bleJ
5.     ltf' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable!
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690L et seq.) as
            directed by the probation ot1icer. the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside. work, are a student. or were convicted of a qualifying offense. (check i/'applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable!




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the atrnched
page.
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 AO 245U (Rev ()l)iJ 7) Judgment in a Criminal Case
                         Sheet 3/\  Supervised Release
                                                                                                 Judgment · l'agt:              of _ _ _ _ _ __
DEFENDANT: Victor Jesus Garcia-Castrejon a/k/a Jose Perez-Su
CASE NUMBER: 4:16-cr-265-DPM-2

                                         STANDARD CONDITIONS OF SUPERVISION
As pmt of your supervised release, you must comply with the following standard conditions of supervision. These conditions me imposed
because they establish the basic expectations for your behavi()r whik on supervision and identify the minimum tools nccckd by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.      You must report to the probation office in the federal judicial district where you are autho1ized to reside within 72 hours of your
        release from imprisonment. unless the probation officer instructs you to report to a different probation office or \Vithin a different time
        frame.
        Alter initially repo1ti11g to the probation office, you will receive instructions from the court or the probation olficcr about how and
        when you must report to the probation officer, and you must report to the probation ol"ticcr as instructed.
3.      You must not knowingly leave the federal judicial district where you arc authorized to reside without first getting permission from the
        court or the probation officer.
4.      You must answer truthfolly the questions asked by your probation oniccr.
.5.     You must live at a place approved by the probation olliccr. lfyou plan to change where you live or anything about your ]i\i11g
        arrangemcms (such as the people you live with), you must notify the probation officer at least 10 days before the change. H notifyrng
        the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware of a change or expected change.
6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must pcnrnt the probation officer to
        take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7       You must work full time (at least 30 hours per week) at a la\\ful type ofcmploymcnt, unless the probation officer excuses you from
        doing so. If you do not have full-time ..:mployrnent you must t1y to find full-time employment, unless the probation officer excuses
        you from doing so. lfyou plan to change where you work or anything about your work (such as your position or your job
        responsibilities), you must notify the probation officer at least IO days before the chungc. If notifying the probation officer at kast I 0
        d<1ys in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours    or
        becoming aware ofa change or expected change.
8.      You must not communicate or interact with someone you knn\\ is engaged in criminal activity. If you kno\\' someone has bc..:n
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
        probation officer.
9.      lf you arc arrested or questioned by a law enfixccmcnt officer, you must noti ly the probation officer within 72 hours.
10.     You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
        designed, or was modified for. the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).
 l I.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
         first getting the permission of the court.
12.     If the probation officer detcnnines that you pose a risk to anothcr person ( including ,m organization). the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may conract the
        person and confirm that you have notified the person about the risk.
 13.    You must follow the instructions of the probation officer related to the conditions orsupenision.




 U.S. Probation Office Use Only
A L.S. probation otticer has instructed me on the conditions specified by the court and has provided me with a \1rittcn copy of this
_judgment containing these conditions. For further information regarding these conditions, sec On·n,iew uf Prohation and Sufh'f"l'iscd
Release Co11dirio11s, available at: W\IW.u,courts.12ov.


 Defendant's Signature                                                                                        Date - - - - - - - -
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 AO 245B(Rcv. ()Q/17) Judgment in a Criminal Case
                      Sheet 3D    Supervised Release
                                                                                             Judg:mcnl- Pag~   6     of      8
DEFENDANT: Victor Jesus Garcia-Castrejon a/k/a Jose Perez-Su
CASE NUMBER: 4:16-cr-265-DPM-2

                                         SPECIAL CONDITIONS OF SUPERVISION
 S 1) If Garcia-Castrejon is deported immediately after incarceration, then the only applicable condition is that he not return
 to the United States illegally during the period of his supervised release. If he is not deported immediately, or if he returns
 legally during that period, then he must comply with all the noted mandatory conditions and all standard conditions.
 Garcia-Castrejon must contact the probation office within 72 hours of a legal re-entry into the country.

 S2) If Garcia-Castrejon is not deported immediately after incarceration or legally re-enters during the period of supervision,
 then he must participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
 program, which must include regular and random drug testing, and may include outpatient counseling, residential
 treatment, recovery meetings, or some combination of those options.
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AO 245B (Rev. 09/ l 7)   Judgment in a Criminal Case
                         Sheet 5 -- Criminal Monetary Penalties
                                                                                                             Judgment     Page       7   of   ····--···· 8 ----
 DEFENDANT: Victor Jesus Garcia-Castrejon a/k/a Jose Perez-Su;
 CASE NUMBER: 4:16-cr-265-DPM-2
                                                  CRIMINAL MONET ARY PENAL TIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                      JVT A Assessment*                                               Restitution
 TOTALS              $ 100.00                      $                                 $                            $



 D    The determination of restitution is dden-ed until
                                                                  ----
                                                                               . An Amended Judgment i11 a Criminal Case (A0245C) will be entered
      at1er such determination.

 D    The defendant must make restitution (including community restitution) to the ti.>llowing payees in the amount listed below·.

      If the defendant makes a patiial payment, each pavee shall receive an approximately proportioned payment, unless specified otherwise in
                                                                                                             *
      the primity order or percentage payment colwnn below. However, pursuant to 18 U.S.C. 3664(i ), all nonfedernl victims must be paid
      before the United States is paid.

                                                                          Total Loss**




  TOTALS                                 $                           0.00           $______                  o_.o_o_

  D     Restimtion amount ordered pursuant to plea agreement S

  D     The defendant must pay interest on restitution and a fine of more than $2,500. unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 I 2(t). All of the payment options on Sheet 6 m::iy be subject
        to penalties for delinquency and default. pursuant to 18 lJ .S.C. § 3612(g).

  D     The court detcnnincd that the defendant docs not have the ability to pay interest and it is ordered that:

         D    the interest requirement is waived for the             D fine     D restitution.
         D    the interest requirement for the          D     fine    •     restitution is modified as follows:


  * Justice for Victims ofTratftcking Act of 2015, Pub. L No. 114-22.
  ** Findings for the total amount ot losses are required under Chapters I 09A, 110, 11 OA. and 113A of Title 18 for offenses committed on or
  after September 13. 1994. but before April 23. 1996.
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;\() 24:-B (Rev (JG!! 7l .ludgment 111 a Criminal Case
                          Sheet 6    Schedule of Payments

                                                                                                             Judgrnent   Page     8      of        8
DEFENDANT: Victor Jesus Garcia-Castrejon a/k/a Jose Perez-Su.
CASF NUMBER: 4:16-cr-265-DPM-2

                                                            SCHEDULE OF PAYMENTS

Having assessed the dcfcnda111·s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     liZ'i   Lump sum payment ofS _10_0_.0_0____                 due immediately, balance: due

              D      not later than                                    . or
              liZ!   in accordance with     D C,        D D,      D     E,or     lilJ F below: or
B     D       Payment to begin immediately (may be combined with               DC         DD, or      D F below); or

C     D       Payment in equal        _ _ _ _ (e.g, wcekfi.-. 111011thli. 1;uar1erl1) installments of S _ _ _ _ _ _ . . over a period of
                              /e.g .. months or years), to commence_ _ _ _ _ (e.g. 30 or 60 dClysl after the date of this judgment: or

D     D       Payment in equal      _ _ _ _ _ (e.g, wceklv. monrhlr. ,;uarlerii) installments of S _ _ _ _ _ _ _ over a period ,if
                            (e.g.. months orvcarsJ. to commence _ _ _ _ _ (e.g .. 30 or 60 dClys; alter release from imprisonment to a
              term of supervision; or

E     D       Payment during the term of supervised release will commence within _ _ _ _ _ (e.g .. 30 or 60 da1•s) afrer release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or

F      fill   Special instructions regarding: the payment      or criminal monetary penalties:
               If Garcia-Castrejon can't pay the special assessment immediately, then during incarceration he must pay 50
               percent per month of all funds available to him. After release, he must pay 10 percent of his gross monthly
               income. Garcia-Castrejon must make payments until the assessment is paid in full.



U nlcss the court has ex press Iv ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary pen a !ties is due cluri ng
the period or irnprisonrnc111.· All criminal monetary penalties, except those payments rna<lc through the Federal Bureau uf Pris,,ns' lrnrnte
Fimncial Responsibility Program, me made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Defendant and Co-Defendant :\'ames and Case Numbers ri11cli1</i11g cl,·f,·1ula111111m1ha1, Total Amount, Joint and Sever,d Amount,
       and corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution intcn:st, (4 J fine princip:il. ( <; l fine
 interest (6) community restitution, (7) .JVTA assessment, (8) penalties. and ( 9 l costs. including cost of prosecution and court costs.
